Case 1:17-cv-00364-LMB-JFA Document 147 Filed 12/07/17 Page 1 of 5 PageID# 1560



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


     SHARYL THOMPSON ATTKISSON,
     et al.,

            Plaintiffs,

     v.                                                Civil Action No. 1:17-cv-364 (LMB/JFA)

     ERIC HOLDER, et al.,

            Defendants.


          SECOND AMENDED NOTICE OF DEPOSITION OF VERIZON SECURITY
              ASSISTANCE TEAM PURSUANT TO F.R.C.P. RULE 30(b)(6)

          Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

 Plaintiffs will take the deposition of a designated representative or representatives of Verizon

 Security Assistance Team (“VSAT”) beginning at 9:00 a.m. EST on December 18-19, 2017, at the

 offices of Motley Rice 401 9th St. NW, Suite 1001 Washington, DC 20004 and Osen LLC 2

 University Plaza, Suite 402 Hackensack, NJ 07601, or such other mutually agreeable location,

 continuing day to day thereafter until completed, upon cross-examination, before a duly authorized

 court reporter, notary public and video technician.

          Verizon Security Assistance Team is defined herein to include its predecessors, successors,

 subsidiaries, affiliates, employees, officers, directors and owners. As used below, “You” or “Your”

 refers to Verizon Security Assistance Team, and any of its representatives or authorized agents,

 employees, officers or directors.




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Case 1:17-cv-00364-LMB-JFA Document 147 Filed 12/07/17 Page 2 of 5 PageID# 1561



           Pursuant to Rule 30(b)(6), you are hereby commanded to produce for deposition one or

 more persons designated to speak for the agency or organization regarding the following specific

 topics:


                 1. The representative designated to speak for the corporation about Verizon’s cyber
                 security operations between 2010 and 2014. The inquiry will be limited to the topic
                 of the relationship between Verizon and the U.S. Intelligence Community,
                 including the FBI, CIA, NSA, or any other organization, person, or group of
                 individuals working with or for the U.S. government and/or its
                 intelligence community during the stated time frame, including details of the
                 relationship; the responsibilities of each; the scope of tasks; and any jobs, tasks, or
                 other programs aimed at or involving Plaintiffs’ home or business, or any journalist
                 located in the U.S.


                 2. The representative designated to speak for the corporation about ownership,
                 maintenance, control, and use of the following Verizon Internet Protocol version 4
                 (“IPv4”) and Internet Protocol version 6 (“IPv6”) addresses between 2010 and
                 2014; including, but not limited to, the following cyber-security, hacking, malware,
                 and/or unauthorized access incidents:

                 a. 70.106.238.107
                 b. 70.208.130.191
                 c. 96.241.87.96
                 d. 96.255.234.210
                 e. 108.18.98.113
                 f. 108.18.107.188
                 g. 108.45.139.237
                 h. 173.66.45.212
                 i. 173.73.91.181
                 j. 174.236.97.12
                 k. 174.252.112.169
                 l. 4870:f803:80fa:ffff:4870:f803:80fa:ffff

                 3. The representative designated to speak for the corporation about ownership,
                 maintenance, control, and use of United States Postal Service (“USPS”) IPv4 and
                 IPv6 address blocks assigned to Verizon under various contracts with the USPS
                 between 2010 and 2014; including, but not limited to, the following IP addresses:
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Case 1:17-cv-00364-LMB-JFA Document 147 Filed 12/07/17 Page 3 of 5 PageID# 1562




             a. 56.91.143.9
             b. 56.189.149.2
             c. 385b:8f09:80fa:ffff:385b:8f09:80fa:ffff
             d. 381b:7b09:80fa:ffff:381b:7b09:80fa:ffff

             4. The representative designated to speak for the corporation about Verizon FiOS
             service and maintenance calls carried out by Verizon, including Verizon authorized
             personnel, at Plaintiff’s residence, 22697 Hillside Circle, Leesburg, Virginia,
             20175, between 2010 and 2014, including the purpose of the service or work; when
             the work or visit occurred; who was involved; who authorized the work; what was
             done; and all records having anything to do with the work, service call,
             maintenance, or reporting of the call or service, including any equipment or devices
             necessary for application at the residence.

             5. The representative designated to speak for the corporation about all cyber-
             security, hacking, malware, and/or unauthorized access incidents involving the
             segments of the USPS’s wide-area network that were managed by Verizon between
             2010 and 2014.

             6. The representative designated to speak for the corporation about all cyber-
             security, hacking, malware, and/or unauthorized access incidents involving mobile
             satellite terminals provisioned by Verizon under contracts with the USPS between
             2010 and 2014.

             7. The representative designated to speak for the corporation about all cyber-
             security, hacking, malware, and/or unauthorized access incidents involving the
             following mobile devices provisioned on Verizon Wireless networks between 2010
             and 2014; limited to incidents occurring in Washington, DC, Northern Virginia,
             and Phoenix, Arizona:

             a. Verizon MiFi 4510L mobile WiFi hotspots; and,
             b. Inmarsat BGAN mobile satellite terminals.

             8. Michael A. Mason

             9. Peter Trahon

             10. Todd Haskell

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Case 1:17-cv-00364-LMB-JFA Document 147 Filed 12/07/17 Page 4 of 5 PageID# 1563



                                 SUBPOENA DUCES TECUM

          Each representative is commanded to appear with the following records and information:

     1.     All records reviewed or considered as part of the process of preparing to speak for the
            corporation under Rule 30, including investigating or educating the witness to be
            prepared to speak for the corporation or agency.

     2.     A current resume or CV. If none is available, the portions of the representative’s
            personnel file that describes his or her background, experience, training, education, and
            job responsibilities.

     3.     All records that provide information about topics 1 to 10 above.



 Dated this 7th day of December, 2017.
                                                      Respectfully Submitted,

                                                      SHARYL THOMPSON ATTKISSON
                                                      JAMES HOWARD ATTKISSON
                                                      SARAH JUDITH STARR ATTKISSON

                                                      By Counsel

 /s/ David W. Thomas
 J. Gregory Webb, Esq. (VA Bar No. 38157)
 David W. Thomas, Esq. (VA Bar No. 73700)
 E. Kyle McNew, Esq. (VA Bar No. 73210)
 MichieHamlett PLLC
 500 Court Square, Suite 300
 Post Office Box 298
 Charlottesville, VA 22902-0298
 Tel. 434-951-7200
 Fax: 434-951-7218
 dthomas@michiehamlett.com
 gwebb@michiehamlett.com
 kmcnew@michiehamlett.com

 C. Tab Turner, Esq. (admitted pro hac vice)
 TURNER & ASSOCIATES, P.A.
 4705 Somers Avenue, Suite 100
 North Little Rock, AR 72116
 (501) 791-2277
 tab@tturner.com

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Case 1:17-cv-00364-LMB-JFA Document 147 Filed 12/07/17 Page 5 of 5 PageID# 1564



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of December, 2017, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
 (NEF) to the following counsel of record:

        Andrew Han, Esq.
        Dennis Carl Barghaan, Jr., Esq.
        Office of the United States Attorney
        Justin W. Williams U.S. Attorney’s Building
        2100 Jamieson Avenue
        Alexandria, VA 22314
        Tel: 703-299-3970
        Fax: 703-299-3983
        Andrew.han@usdoj.gov
        Dennis.barghaan@usdoj.gov
        Counsel for Defendants Eric Himpton Holder, Jr.
               Patrick R. Donahoe, and Postal Service




                                              /s/ David W. Thomas__________________
                                              J. Gregory Webb, Esq. (VA Bar No. 38157)
                                              David W. Thomas, Esq. (VA Bar No. 73700)
                                              E. Kyle McNew, Esq. (VA Bar No. 73210)
                                              MichieHamlett PLLC
                                              500 Court Square, Suite 300
                                              Post Office Box 298
                                              Charlottesville, VA 22902-0298
                                              (434) 951-7200; (434) 951-7218 (Facsimile)
                                              dthomas@michiehamlett.com
                                              gwebb@michiehamlett.com
                                              kmcnew@michiehamlett.com




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